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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

MASHPEE WAMPANOAG TRIBE,

                       Plaintiff,

               v.

DAVID L. BERNHARDT, in his official
capacity as Secretary of the Interior, and
UNITED STATES DEPARTMENT OF THE                             Case No. 1:18-cv-2242-PLF
INTERIOR,

                       Federal Defendants,

               v.

DAVID LITTLEFIELD, et al.,

                       Intervenor-
                       Defendants.




                    JOINT PROPOSED ORAL ARGUMENT SCHEDULE

       In accordance with the Court’s Order of April 10, 2020, the Mashpee Wampanoag Tribe

(“Tribe”), Federal Defendants David L. Bernhardt, Secretary of the Interior (“Secretary”), and

Department of the Interior, and Intervenor-Defendants David Littlefield, et al., propose the

following schedule:

       1.      The Tribe shall argue for up to 55 minutes and preserve 20 minutes for rebuttal.

       2.      The Federal Defendants shall argue for up to 40 minutes and preserve 15 minutes

               for rebuttal.

       3.      The Intervenor-Defendants shall argue for up to 12 minutes and preserve 8

               minutes for rebuttal.
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       4.      The hearing will recess for 15 minutes.

       5.      The Tribe will argue its rebuttal for up to 20 minutes.

       6.      The Federal Defendants will argue their rebuttal for up to 15 minutes

       7.      The Defendant-Intervenors will argue their rebuttal for up to 8 minutes

       The parties propose that each will argue the merits of the cross-motions for summary

judgment and the Tribe’s motion for a preliminary injunction at the same time.

       Respectfully submitted this 30th day of April, 2020.

                                         For Plaintiff Mashpee Wampanoag Tribe:

                                         /s/ Tami Lyn Azorsky
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                                         For Federal Defendants:

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                                         /s/ Sara E. Costello
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                        For Intervenor-Defendants:

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                                   CERTIFICATE OF SERVICE

        I hereby certify that on April 30, 2020, I electronically filed the foregoing Joint Proposed Oral

Argument Schedule with the Clerk of the Court of the U.S. District Court for the District of Columbia

by using the Court’s CM/ECF system. All participants in this case are registered CM/ECF users and

will be served by the CM/ECF system.




                                                   /s/ Tami Lyn Azorsky
                                                   Tami Lyn Azorsky




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